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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

R.M.S. TITANIC, INC.,
successor-in-interest to
Titanic Ventures, limited partnership,
               Plaintiff,

v.                                                           Civil Action No. 2:93cv902

THE WRECKED AND ABANDONED VESSEL,
ITS ENGINES, TACKLE, APPAREL,
APPURTENANCES, CARGO, ETC., LOCATED
WITHIN ONE (1) NAUTICAL MILE OF A POINT
LOCATED AT 41 43/ 32’ NORTH LATITUDE
AND 49 56’ 49” WEST LONGITUDE,
BELIEVED TO BE THE R.M.S. TITANIC
in rem,
             Defendant.

 PREMIER ACQUISITION HOLDINGS LLC’S CONSENT MOTION TO INTERVENE

       Premier Acquisition Holdings LLC (“PAHL”) respectfully moves pursuant to Fed. R.

Civ. P. 24(a) and (b) to intervene in the above-captioned action for the reasons more fully set

forth in the accompanying Memorandum in Support. Plaintiff RMS Titanic, Inc. consents to the

requested relief. The United States has not yet consented.

                                             Respectfully submitted,

                                             PREMIER ACQUISITION HOLDINGS LLC

                                             By Counsel:

                                                     /s/ David G. Barger
                                             David G. Barger, VSB #21652
                                             Attorney for Proposed Intervenor Premier
                                             Acquisition Holdings LLC
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SEEN AND AGREED:

R.M.S. TITANIC, INC.,
Plaintiff


By: _/s/ Robert W. McFarland__________
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 31, 2018, a true copy of the foregoing was filed with the
Court using the CM/ECF system, which will send notification of such filing to the following:

 Brian A. Wainger                                    Robert W. McFarland
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 Counsel for Plaintiff R.M.S. Titanic, Inc.,         Counsel for Plaintiff R.M.S. Titanic, Inc.,
 successor in interest to Titanic Ventures,          successor in interest to Titanic Ventures,
 limited partnership                                 limited partnership

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